CaSe 1: 02- --Cr 10026- .]DT Document 13(;

]Filedl OS/Sl/OBF|§?{&Q€ 1 of 2 Page|D 111

'Q=CJA 24 AUTHORIZATION A`ND VOLJCHER FOR PAYMENT OF TRANSCR|PT (Rev. 5¢‘99) t

 

2. PERSON REPRESENTED
Jacl<ie L. E||iot

1. cta.rotsr`r otv. CODE
Gth Cir!TNWD

 

VOUCHER NUMEER

 

 

at DIST, DKT..'DEF. NuMBeR
1:02-010026-001

3 MAG DKT./DEF.NUMBER

s. APPEALS oKT./DEF` NUMBER
05-6232

6. OTHER DKT` NUMBER

 

 

7, lN CASE."M.A'¥TER OF (Case Name) E\ PAYMENT CATEGORY

 

 

E\ Fe|ony |] Petty Of’t`ense El Adult Defendant ij Appel]ant (See instructions
U.S. V. E||iot \:\ Misderneanor Cl Other ij Juvenile Defendant [;i Appe|lee
Ei Ajpett| [] Other

9. TYPE FERSON REPRESENTED lO` REFRESENT.AT]ON TYPE

 

 

 

| |, OFFENSE(S) CHARGED (Cite U.S\ Code, Tit|e & Section} .[{'rrrore than one offense list (up roftve) major oferr.te.t charged according to severity ofu_§`ente
1) 18 U.S.Cl 922(9) Un|awfu| Transpottatioanossess.'Receive Firearms Through lnterstate Commerce

 

 

'REQUEST?- h ND 'AU'I`.HORIZA'I'ION ;.FOR:" TRANSCRIPT

 

 

12 PROCEEDING IN leCt-_t TRANSCRIPT is TO BE USED (Det~crrbe ariejryj
Appeal

 

13` PROCEED|NG TO BE TRANSCRIBED (De.\'crlbe .t'pectficai'ly) NO]"E. The trial transcripts ore not 10 include prosecution opening statement defense ri`?d:rtng .t:d.'ern¢n f__
prosecution argument defense argument prr)ret:u.'t'rm rehnl'rai', \'olr' dire or}ury instrument unie\‘\ tpecijicaihz authorized by the Court (see hem HE ;;U
J`J¢J
August 3. 2005 Re-Sentencing Hearing _ C__

 

i4. SPEC|AI_, AUTHORIZATIONS

 

A, Apportioned

% of transcript with (Gr've case name and defendanr}

 

 

 

B. |Il Expedtted ij Daily [J Huurly Transcript

l:l Realtime Unedited transcript

 

 

C. lIl Prosecution Opening Statement ij Prosecution Argument [l Presecuticn Rebuttal
|:l Voir Dire

Cl Del`ertse Opentng Statement l:l Defense Argument

l:l Jury instructions

 

D. ln this mu|ti defendant case, commercial duplication oftranscripts will impede the delivery ofacce|erated transcript services to

persons proceeding under the Criminal Justice Act

 

 

|5. A`|'TORNEY` S STATEZMENT

As the attorney for the person represented who' ts managed above, l hereby afiirrn that the
transcript requested is necessary for adequate representation l, therefore. request
authorization te obtain the transcript services at the expense ofthe United States pursuant

to it/rte`(.`rimina|a' Justice Act.
S~ tit -D$

j-a Date
an

Te|ephone
il Pane| Artnrney

asignature of Artorney

york

Prt`nted Name

 

ij Retained Attorney l:l Pro-Se ij Legal Orgtz.nization

| 6 COURT ORDER

Financia| eligibility ufthe person represented havtng been established to the Court`s
satisfaction the authorization requested in Item 15 is hereby granted.

(;waw¢b SHH¢JL

'gnatur= of Presiding .Iud£a{ Off`teer or By Order oftlte Court

arms
Date ijrder

Nt.tnc Prn Tunc Dttte

 

 

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|'l` COURT REPORTERJTRANSCRIBER STATUS

l:l Of`ticia| ij Conrract [l Transcriber l:i Other

 

19 SOC|AL SECUR!TY NUMBER OR EMPL,OYER lD NUMBER OF PAYEE

 

|B. PAYEE'S NAME (F.tr.\'l' Norrre, M.l'., t'.er.tr Name. rrrc'ludmg uny.wl]ix). AND
MA|L[NG ADDRESS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 
 

 

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source for these services
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Signature of Attumey or C|erk

 

 

 

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Date

 

 

 

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.1 ames W. Pchll

U.S. ATTORNEY'S OFFICE
109 S. Highland Avc.

Ste. 300

lackson7 TN 38301

.1 on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stoncbridge Blvd.

lackson7 TN 38305

Honorablc .1 ames Todd
US DISTRICT COURT

